
Per Curiam.
This case presents the same question involved in the matter of State, ex rel., Elfer vs. Parish Democratic Executive Committee, et als., No. 6590 of our docket, this day decided, and for the reasons therein, set forth,
The judgment herein is annulled and reversed and it is now decreed that there be judgment in favor of relator herein ordering and commanding- the respondents herein to print and cause to be printed the name of relator upon all ballots to be used and cast at the primary election to be held in the Parish of St. John the Baptist on January 25, 1916, as a candidate of the Democratic Party for nomination to the office of Constable, Ward 5, of said Parish, and to certify relator’s name as such candidate' to the Secretary of. State of Louisiana; and it is further decreed that respondents pay the costs of both 'Courts.
Reversed.
